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 1                           UNITED STATES DISTRICT COURT

 2                                  DISTRICT OF NEVADA

 3 FRANK M. PECK,                                      Case No.: 2:18-cv-00237-APG-VCF

 4         Plaintiff                                Order Granting Motion for Extension of
                                                                   Time
 5 v.
                                                                  [ECF No. 143]
 6 STATE OF NEVADA, et al.,

 7         Defendants

 8        Plaintiff Frank Peck’s motion for enlargement of time (ECF No. 143) is granted. Peck’s

 9 opposition to the pending motion to dismiss is due by December 5, 2020.

10        DATED this 16th day of October, 2020.

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                                                     ANDREW P. GORDON
                                                     UNITED STATES DISTRICT JUDGE
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